              Case 4:03-cr-40021-JPG                      Document 258 Filed 09/17/12                    Page 1 of 3          Page ID
 A0245D                                                             #1766
              (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet I



                                             UNITED STATES DISTRICT COURT
                                                           Southern District of Illinois

          UNITED STATES OF AMERICA                                        Judgment in a Criminal Case
                              v.
              MICHAEL D. McDONALD
                                                                          (For Revocation of Probation or Supervised ~rl         ED
                                                                          Case No. 4:03CR40021-02
                                                                          USM No. 05842-025
                                                                                                                     SEP f 7 2012
                                                                                                             CLERK U <· DI'"T
                                                                                                          SO        · -~       ~ RICT COUR7
                                                                            Melissa A. Day, AFPD               UTHERN ~:s:-n1cr o;:- p LrtiSL.. '
                                                                                                   Defendant's Attom@ff" I 01\1 OFFIC:.-.      .
 THE DEFENDANT:
 ~ admined guilt to violation of condition(s)            as alleged below                  of the term of supervision.
 D was found in violation of condition(s)              - - - - - - - - - - - a f t e r denial of guilt.
 The defendant is adjudicated guilty of these violations:

 Violation Number                                            Nature of Violation                                  Violation Ended
 Statutory                         The defendant committed the offense of Unlawful Possession                  07/17/2012

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                                   'f r ;·


 Standard# 1                       The defendant left the district without permission of probation             07/17/2012

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        The defendant is sentenced as provided in pages 2 through _ _,3::...__ of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 D The defendant has not violated condition(s) - - - - - - - and is discharged as to such violation(s) condition.

           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are
 fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
 economtc cucumstances.

 Last Four Digits of Defendant's Soc. Sec. No.: 4087                       09/14/2012

 Defendant's Year of Birth:             1080

 City and State of Defendant's Residence:
 Metropolis, IL 62960
                                                                                                                         District Judge
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AO 2450                                                         #1767
          (Rev. 09/11) Judgment in a Criminal Case for Revocations
          Sheet lA

                                                                                        Judgment-Page _ _..2_ of                3
DEFENDANT: MICHAEL D. McDONALD
CASE NUMBER: 4:03CR40021-02

                                                     ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number              Nature of Violation                                                             Concluded
Standard# 3



Standard# 6                   Defendant failred to notify probation 10 days prior to change of employment     07/01/2012

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Standard# 9                   The defendant associated with a convicted felon without permission              09/17/2010
Standard # 11                 The d.ndabtfailed ~!'otify probationpfibeing questioned l?Y:J,once ·           'o!l/1;1!'~10
                                       ("       '         ,,," "     .,   ,'              "                      :<"; \ \/., ","
Special                       The defendant failed to perform community service hours as directed             12/20/2010
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 AO 2450       (Rev. 09/ll) Judgment in a Criminal Case for Revocations #1768
               Sheet 2- Imprisonment

                                                                                               Judgment- Page _   _,3'- of         3
 DEFENDANT: MICHAEL D. McDONALD
 CASE NUMBER: 4:03CR40021-02


                                                             IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 term of:
18 months




       D The court makes the following recommendations to the Bureau of Prisons:




       r/ The defendant is remanded to the custody of the United States Marshal.
       D The defendant shall surrender to the United States Marshal for this district:
           D     at  - - - - - - - - D a.m.                   D   p.m.       on
           D     as notified by the United States Marshal.

       D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D     before 2 p.m. on
           D     as notified by the United States Marshal.
           D     as notified by the Probation or Pretrial Services Office.

                                                                  RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                   to

  at   - - - - - - - - - - - - - - with a certified copy of this judgment.



                                                                                            UNITED STATES MARSHAL


                                                                         By
                                                                                         DEPUTY UNITED STATES MARSHAL
